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 1   LEVI & KORSINSKY, LLP
     Adam M. Apton (SBN 316506)
 2   Adam C. McCall (SBN 302130)
     75 Broadway, Suite 202
 3
     San Francisco, CA 94111
 4   Tel.: (415) 373-1671
     Email: aapton@zlk.com
 5           amccall@zlk.com
 6   Attorneys for Plaintiff and Counsel for the Class
 7   [Additional Counsel on Signature Block]
 8

 9                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
10
     IN RE TESLA, INC. SECURITIES                        Case No. 3:18-cv-04865-EMC
11   LITIGATION
                                                         DECLARATION OF ADAM C.
12
                                                         MCCALL IN SUPPORT OF
13                                                       PLAINTIFF’S REPLY IN FURTHER
                                                         SUPPORT OF MOTION FOR
14                                                       PARTIAL SUMMARY JUDGMENT
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      DECLARATION OF ADAM C. MCCALL IN SUPPORT OF                        CASE NO. 3:18-CV-04865-EMC
      PLAINTIFF’S REPLY IN FURTHER SUPPORT OF MOTION
      FOR PARTIAL SUMMARY JUDGMENT
     Case 3:18-cv-04865-EMC Document 371 Filed 02/15/22 Page 2 of 4




 1   I, ADAM C. MCCALL, hereby declare as follows:

 2          1.        I am an associate at Levi & Korsinsky, LLP, attorneys for Plaintiff Glen Littleton

 3   in the above-captioned action. I make this declaration in support of Plaintiff’s Reply in Further

 4   Support of Motion for Partial Summary Judgment. I am admitted to practice before this Court. I

 5   have personal knowledge of the facts set forth herein and, if called as a witness, could and would

 6   testify competently thereto.

 7          2.        Attached hereto are true and accurate excerpts from the following depositions

 8   taken in this action as set forth below:

 9            Witness                                        Deposition Date
10            Deepak Ahuja                                   August 5, 2021
11            Robyn Denholm                                  October 5, 2021
12            Egon Pierre-Durban                             September 7, 2021
13            Joseph Fath                                    July 12, 2021
14            Elon Musk                                      November 5, 2021
15            Sam Teller                                     August 11, 2021
16          3.        Attached hereto are true and accurate excerpts from testimony obtained by the
17   United States Securities and Exchange Commission in connection with its investigation in the
18   matter of Tesla Motors, Inc., produced in discovery in this action as set forth below:
19            Witness                           Deposition Date       Exhibit Number
20            Elon Musk                         August 29, 2018       330
21           Samuel Teller              August 28, 2018        SEC-EPROD-000017196-17509
22           4.   Attached hereto are true and accurate copies of the following exhibits marked

23    during depositions in the course of discovery:
24
              Exhibit Document
                                           Exhibit Description                   Bates Range
25              #       Date
                                       Email from Ryan Brinkman to    JPMS_000016045-
26                                     EQR - Aprroval Request, Re:    JPMS_00016047
                 14                    Request approval to raise
27                         8/8/2018    Tesla (TSLA) price target by
28
      DECLARATION OF ADAM C. MCCALL IN SUPPORT OF                             CASE NO. 3:18-CV-04865-EMC
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                                       +58%
 1
                                       Email from Joseph Fath         TRP_000002
 2                                     (TRowe) to Robert Marcotte
                 41                    and others at TRowe, Re:
 3                          8/7/2018   TSLA (Tesla) Updates
                                       Email from Yasir               TESLA_LITTLETON_00003900-
 4               107                   AlRumayyan (PIF) to Elon       TESLA_LITTLETON_00003901
                           2/22/2017   Musk, Re: OpenAI Funding
 5
                                       Email from Nasdaq to Aaron     TESLA_LITTLETON_00006610
 6               149                   Chew and Martin Viecha re
                            8/7/2018   trading resuming
 7                                     Email from Egon Durban to      SL_3P00000306
                                       Steve Rosenblum (WLRK)
 8                                     and Mark Kim (MTO); Cc:
                 194                   Elon Musk; Sam Teller; Dan
 9                                     Dees and other GS people re
                           8/16/2018   investor outreach list
10                                     Email from Ilene Taylor        TESLA_LITTLETON_00006615-
                 204                   (Nasdaq) to Aaron Chew re      TESLA_LITTLETON_00006616
11                          8/7/2018   Elon tweets / trading halt
12                                     Email from Dan Dees to Orbit   SEC-EPROD-000005826-SEC-
                                       Drive, FW: Titanium            EPROD-000005837
13               265                   Materials. ATTACHMENT:
                                       2018-08-15 Project Titanium
14                         8/15/2018   Discussion Material by GS

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            5.         Attached hereto as Exhibit R is a true and accurate copy of an August 14, 2018
16
     analyst report published by Morningstar Digest titled “Tesla Buyout Looks Likely to Us, but
17

18   Timing and Structure Uncertain.”

19          6.         Attached hereto as Exhibit S is a true and accurate copy of an August 7, 2018
20   analyst report published by RBC Capital Markets titled “On Tesla $420.”
21
            7.         Attached hereto as Exhibit T is a true and accurate copy of an August 7, 2018
22
     analyst report published by Morningstar Equity Research titled “Musk Tweets Tesla May Go
23
     Private at $420 a Share but Stockholders May Not Have to Sell at That Price.”
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25          8.         Attached hereto as Exhibit U is a true and accurate copy of an August 7, 2018

26   analyst report published by Bank of America Merrill Lynch titled “Shorts may be burned for now

27   … but buyer beware.”
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      DECLARATION OF ADAM C. MCCALL IN SUPPORT OF                         CASE NO. 3:18-CV-04865-EMC
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            9.      Attached hereto as Exhibit V is a true and accurate copy of the November 8, 2021
 1

 2   report of Daniel R. Fischel.

 3          10.     Attached hereto as Exhibit W is a true and accurate copy of the December 8, 2021

 4   report of Daniel R. Fischel.
 5
            I declare under penalty of perjury that the foregoing is true and correct.
 6
            Executed this 15th day of February, 2022.
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                                                       s/
10                                                     Adam C. McCall

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      PLAINTIFF’S REPLY IN FURTHER SUPPORT OF MOTION
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